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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

CATHIE KEMPTER,

        Plaintiff,

v                                                    Case No.
                                                     Hon.

MICHIGAN BELL TELEPHONE
COMPANY AND/OR AT&T
MICHIGAN, a Michigan corporation,
TRACY BAIN, RICK SPEICE and/or
RICK SPIECE, and RENEE GARCIA,
Individually,

        Defendants.
                                                     /

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Co-counsel for Plaintiff                           VICKI J. PATTERSON (P42749)
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                     DEFENDANTS’ VERIFIED NOTICE OF REMOVAL

        Defendants, Michigan Bell Telephone Company, Tracy Bain, Rick Spiece and Renee

Garcia, by the undersigned counsel, and for the purpose of removing this cause to the United

States District Court for the Eastern District of Michigan, Northern Division, state as follows:
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       1.      State Court Action. This action was initially filed on December 8, 2011, in the

Circuit Court for the County of Saginaw, State of Michigan, Case Number 11-014783-CZ-1,

asserting claims against Defendants.

       2.      The Summons and Complaint were served on Defendant Michigan Bell

Telephone Company by certified mail on January 9, 2012. Defendants Spiece and Garcia were

each personally served on January 4, 2012, and Defendant Bain was personally served on

January 5, 2012.

       3.      Attached hereto as Exhibit A is a copy of the Summons, Complaint and Jury

Demand, and all pleadings and process filed in the Saginaw County Circuit Court in accordance

with 28 U.S.C. 1446 (a).

       4.      Plaintiff’s Complaint alleges state law claims of violation of the Michigan

Persons with Disabilities Civil Rights Act and Elliott-Larsen Civil Rights Act and a federal law

claim of violation of the Americans with Disabilities Act (ADA), as amended by the Americans

with Disabilities Act Amendments Act (ADAAA) (which Plaintiff’s Complaint alleges is

“bolstered” by Title VII, 42 U.S.C. 1981a and 42 U.S.C. 1988).

       5.      This Notice of Removal is being filed within thirty (30) days of the first

individual Defendant’s receipt of Plaintiff’s Complaint which reveals that this case is removable,

pursuant to 28 U.S.C. 1446 (a) and (b), and the Americans with Disabilities Act, as amended.

       6.      Claims brought pursuant to the ADA and ADAAA assert federal question

jurisdiction and may be properly removed pursuant to 28 U.S.C. 1441(b).

       7.      This matter may be removed by Defendants regardless of the amount in

controversy pursuant to 28 U.S.C. 1441 (a).




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        8.      Plaintiff’s state law claims are subject to this Court’s pendant jurisdiction

pursuant to 28 U.S.C. § 1367 because the state law claims are so related to Plaintiff’s federal law

claims that “they form part of the same case or controversy.” Plaintiff alleges identical facts to

support her claims that she was discriminated against under Federal and state law because of her

alleged disability.

        9.      Concurrent with the filing of this Notice of Removal, Defendant is providing

notice to all adverse parties and the Clerk of the Saginaw County Circuit Court, pursuant to 28

U.S.C. 1446 (d). See Exhibit B.

        10.     All Defendants concur in the filing of this removal.

        11.     Relief Requested. Defendants respectfully request the United States District

Court for the Eastern District of Michigan, Northern Division accept this Notice of Removal and

that it assume jurisdiction of this cause pursuant to 28 U.S.C. 1441(a) and 28 U.S.C. § 1367 and

issue such further orders and processes that may be necessary to bring before it all parties

necessary for the trial hereof.


                                              Respectfully submitted,

                                              s/Vicki J. Patterson
                                              Richard M. Tuyn (P29091)
                                              Vicki J. Patterson (P42749)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 20, 2012, I electronically filed the foregoing paper with
the Clerk of the Court using the ECF system which will send notification of such filing to all
ECF participants. I further certify that I will serve a copy of such filing on any non-ECF
participants as necessary.

                                             s/Vicki J. Patterson
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